
USCA1 Opinion

	









                            United States Court of Appeals
                                For the First Circuit
                                 ____________________


          No. 97-1783

                    SPRINGFIELD TERMINAL RAILWAY COMPANY, ET AL.,

                               Plaintiffs, Appellants,

                                          v.

                    CANADIAN PACIFIC LIMITED, DBA, CP RAIL SYSTEM,

                                 Defendant, Appellee.
                                 ____________________


                     APPEAL FROM THE UNITED STATES DISTRICT COURT

                          FOR THE DISTRICT OF MASSACHUSETTS

                   [Hon. Robert B. Collings, U.S. Magistrate Judge]
                                             _____________________
                                 ____________________


                                        Before

                                Selya, Circuit Judge,
                                       _____________
                            Coffin, Senior Circuit Judge,
                                    ____________________
                              and Stahl, Circuit Judge.
                                         _____________
                                 ____________________


               Robert  S. Frank,  Jr., with whom  Robert M.  Buchanan, Jr.,
               ______________________             ________________________
          Eric  J. Marandett,  Kenneth E.  Steinfield, and Joshua  A. Engel
          __________________   ______________________      ________________
          were on brief for appellants.
               Terence M. Hynes  with whom Michael Fehner was  on brief for
               ________________            ______________
          appellee.

                                 ____________________

                                  December 22, 1997
                                 ___________________
























               COFFIN,  Senior Circuit  Judge.   This is  an appeal  from a
                        _____________________

          summary  judgment for  defendant  in  a  civil  antitrust  action

          brought under  Section 2  of  the Sherman  Act, 15  U.S.C.    15,

          seeking damages  for an "attempt to monopolize .  . . any part of

          the trade or commerce among the several States."  The appeal also

          challenges  the   district  court's  refusal   to  exercise   its

          supplemental   jurisdiction  over  one  count  of  the  complaint

          charging violation of the Massachusetts Antitrust Act, Mass. Gen.

          L. ch. 93,   5,  and another count charging tortious interference

          with prospective business advantage.

                                     The Parties
                                     ___________

               The  plaintiffs  are  three  railroad  companies   owned  by

          Guilford Transportation Industries,  Inc., with principal offices

          in  New Hampshire.   They  are the  Boston and  Maine Corporation

          (B&amp;M),  the Maine Central  Railroad Company, and  the Springfield

          Terminal  Railway   Company,  which  collectively   comprise  the

          Guilford  Rail System.   We shall refer  to plaintiffs-appellants

          simply as Guilford.   The defendant-appellee is  Canadian Pacific

          Ltd., with principal offices in Montreal, Quebec.  We shall refer

          to it as CP.  Guilford's lines run from New England to  New York;

          CP's  relevant  line  runs  through  central  Maine  between  the

          Canadian provinces of New Brunswick and Quebec.

                                      The Market
                                      __________

               The market  subject to the alleged  attempted monopolization

          is,  for  purposes of  this  case, assumed  to  be  that of  rail

          transportation to and  from northern New England.   The principal


                                         -2-














          customers are  thirty plants  producing building materials,  wood

          pulp, and paper located in Maine, New Hampshire, and Vermont, and

          their  suppliers and  customers.   Incoming  traffic consists  of

          clay,  chlorine, and other supplies; outgoing traffic consists of

          paper,  pulp, and  building  materials.   Of  the thirty  plants,

          twenty-three are on Guilford's lines; three are on a line of  the

          Bangor and Aroostook Railroad in  Maine; one is on the short-line

          Aroostook Valley Railroad in northern Maine; and three are on the

          St. Lawrence  &amp; Atlantic  Railroad in Vermont.   CP  and Guilford

          compete  for plants  on the  Bangor and  Aroostook line;  neither

          serves mills on the St. Lawrence &amp; Atlantic Railroad.   There are

          no plants on a CP line.

                                      The Issue
                                      _________

               The basic theme  of the complaint, filed on  August 1, 1994,

          is  that CP,  a corporation  with some  $10 billion  in revenues,

          attempted to drive out of business or force the sale of Guilford,

          which was in fragile  financial circumstances, thereby destroying

          competition  in the  market above described.   In  submitting its

          motion  for  summary judgment,  CP  assumed  the truth  of  facts

          alleged in  the complaint.   Therefore, the relevant  market, the

          intent  to monopolize, and the  existence of predatory conduct --

          three  of the four requisites of  an attempt to monopolize -- are

          not in issue.  What is to be decided is whether the complaint and

          affidavits raise a  genuine issue of fact as to  the existence of

          "a  dangerous probability of achieving monopoly power."  Spectrum
                                                                   ________

          Sports, Inc. v. McQuillan, 506 U.S. 447, 456 (1993). 
          ____________    _________


                                         -3-














                                  The Facts Alleged
                                  _________________

               We take the facts as alleged  in the complaint.  Although we

          review a summary  judgment decision in  which the district  court

          considered both the complaint and  an affidavit from each  party,

          the  affidavits submitted  do  not  assert  any  facts  that  are

          relevant to our decision.  

               After  covering  the   material  we  already   have  briefly

          described,  the complaint addresses  CP's underlying motive.   It

          alleges:  (1) on May 15, 1990, CP agreed to purchase the Delaware

          and  Hudson  Railway  Company (D&amp;H);  (2)  before  this purchase,

          Guilford linked  much of its  traffic to and from  points outside

          New  England  through D&amp;H  lines,  amounting  to  68  percent  of

          Guilford's traffic in  1988, and dropping to 43  percent in 1989;

          (3) in 1990, at some unidentified time, the figure dropped  to 27

          percent; (4) CP's  purchase of  D&amp;H was  "predicated upon  D&amp;H/CP

          retaining the share  of interchange traffic D&amp;H  had historically

          had  with [Guilford];" (5) D&amp;H/CP has sustained subsequent yearly

          losses of some $8 million; and (6) therefore, since retaining the

          Guilford interchange business  was essential to D&amp;H's  health, CP

          "entered into a series of transactions" to weaken Guilford, force

          a lease, sale, or bankruptcy, "from  which CP and others would be

          able to acquire its lines."

               Four   activities  were   alleged  under   the  caption   of

          "Defendant's Unlawful Conduct."  The  first was a 1989 request to

          obtain trackage  rights over  Conrail lines  in Pennsylvania  and




                                         -4-














          Maryland  as a  prerequisite  to the  acquisition  of D&amp;H  lines.

          Conrail refused.

               In early 1990,  an effort was made, in  connection with CP's

          planned acquisition  of  D&amp;H, to  increase the  level of  traffic

          interchange  between Guilford  and  D&amp;H  through  a  proposal  to

          acquire  trackage  rights,  with  an  option  to  purchase,  over

          Guilford's line between  Mechanicville, New York,  and Fitchburg,

          Massachusetts.  Guilford rejected the proposal.

               At  the same  time, in  April and May,  1990, CP  sought the

          assistance  of  the  Federal  Railroad  Administration  (FRA)  in

          obtaining  the  consent  of  Guilford  to  CP's  proposal.    FRA

          allegedly  cooperated  by   threatening  to  default   Guilford's

          subsidiary,  Boston and Maine, under a preference share agreement

          with FRA, which  would trigger a  B&amp;M obligation to pay  FRA some

          $26 million.   FRA senior management  also allegedly stated  that

          Guilford  would  regret  it  if  the  company  turned  down  CP's

          proposal.     In   late   1990,  FRA   notified   B&amp;M  that   its

          "reconfiguration"  of part  of a line  (i.e., removal  of tracks)

          violated  the  preference share  agreement.    Had FRA  called  a

          default,  CP knew  that  Guilford would  face  bankruptcy and  be

          subject to acquisition by CP on  favorable terms.  But no default

          is alleged to have been declared.

               These  three instances of alleged efforts, while evidence of

          intent, produced no results adverse to Guilford.  Only the fourth

          alleged incident describes an effort ripening into conduct.  Both

          CP and Guilford submitted bids  to a large paper-making facility,


                                         -5-














          the Great  Northern plants,  for transport  of 4,744  carloads of

          paper  to 165  locations between  January 1,  1991 and  April 30,

          1993.    CP's bids  were  for  less  than its  estimated  average

          variable cost; for example, the average variable cost for one bid

          involving more than  a fourth of the total  traffic was estimated

          at $1,000  per carload while  the expected revenue was  less than

          $350.   In December  1990, CP  was awarded  a contract for  4,204

          carloads.

               The complaint  alleged that  this conduct  was "intended  to

          divert revenues from the Guilford Rail System" so as to weaken it

          and permit  CP "or others  collaborating with CP" to  acquire it.

          The essential part of the complaint concluded with the allegation

          that CP, once it had acquired Guilford, could recoup the costs of

          such  predatory pricing through restoring the interchange traffic

          and increasing rail rates.  The high barriers to new entry in the

          market  and   the  weakened   condition  of   Guilford  allegedly

          contributed to the likelihood that CP would accomplish this goal.

                                  Proceedings Below
                                  _________________

               CP's  motion  for  summary  judgment  urged  three  grounds.

          First,  accepting  the  truth  of  all  allegations,  CP  claimed

          exemption  from antitrust liability  under 49 U.S.C.    11321(a),

          which provides that ICC approval of a purchase of  one carrier by

          another creates  an exemption "from  the antitrust laws  and from

          all other law . . . as necessary to let that person carry out the

          transaction,  hold,  maintain, and  operate  property  .  . .  ."

          Second, CP claimed that there existed no dangerous probability of


                                         -6-














          monopoly in any event because it was not alleged that CP  had any

          market power,  and it had  not been shown probable  that Guilford

          would agree  to sell to CP or  that the ICC would  approve such a

          purchase.  Third, CP argued that the state law claims, resting on

          the  district   court's  supplemental  jurisdiction,   should  be

          dismissed along with the federal claim.

               The district  court, after  an unfortunate  two year  hiatus

          during which  apparently no  progress was  made in  resolving the

          case, rested its  summary judgment on the  following conclusions:

          deeming  market share a "highly significant" though not exclusive

          factor in assessing the probability of successful monopolization,

          it  reasoned that  at most  CP  controlled little  more than  ten

          percent of the market, which was not "sufficiently 'proximate' to

          monopoly;" that nothing in the record indicated that, if Guilford

          were forced to sell its rail lines, it would sell to CP; and that

          the record  failed  to demonstrate  that  ICC approval  would  be

          forthcoming.   Finding the federal antitrust claim unsupported by

          sufficient factual  allegations to  create a  genuine issue,  the

          court in  its discretion  declined to  exercise its  supplemental

          jurisdiction over the state claims.

                                      Discussion
                                      __________

               Standards.   The  familiar  standards  of  summary  judgment
               _________

          review  apply here.   Some are  in appellants' favor:   review is

          plenary, Steinke v. SunGard Financial Systems,  121 F.3d 763, 768
                   _______    _________________________

          (1st Cir.  1997); a genuine issue of  fact that is truly material

          will defeat the  motion, Celotex Corp. v. Catrett,  477 U.S. 317,
                                   ____________     _______


                                         -7-














          325-27 (1986); and facts and reasonable inferences therefrom must

          be taken favorably to the non-movant, Blanchard v.  Peerless Ins.
                                                _________     _____________

          Co., 958 F.2d 483, 490 (1st Cir. 1992).
          ___

               But other standards have come to  hold in check too ready  a

          creation of a factual issue.  Unsupported assessments, conclusory

          allegations,  and  speculative  suppositions   carry  no  weight.

          Medina-Munoz v.  R.J. Reynolds  Tobacco Co., 896  F.2d 5,  8 (1st
          ____________     __________________________

          Cir. 1990).   We add to this litany that  in a case such as this,

          where intent and subjective motive are not in question, but where

          the issue involves the objective and rather technical data called

          for by  the requirement of  a dangerous probability  of achieving

          monopoly power, the  careful construction of a complaint takes on

          enhanced importance.  

               In addition  to standards  of review,  standards of  careful

          practice caution that  the pleader anticipate a  summary judgment

          motion and have in mind the availability of Fed. R. Civ. P. 56(f)

          if further discovery seems necessary,  that timely steps to amend

          be taken when  the need arises, and that  appropriate proffers of

          evidence be made if the  record needs supplementing.  Moreover, a

          motion  for summary judgment  thrusts into possible  question any

          fatal  factual deficiency,  whether  or  not it  is  then at  the

          forefront of controversy.  A non-movant must live with the double

          standard that,  while a  loser at the  fact finding  stage cannot

          raise  new issues  to  secure  reversal, "A  party  may defend  a

          judgment  in its favor on any legitimate ground without appealing

          from the judgment on that issue."  United States v. Massachusetts
                                             _____________    _____________


                                         -8-














          Institute of  Technology, Nos. 97-1287,  97-1382, slip op.  at 14
          ________________________

          (1st Cir. Nov. 25, 1997) (citation omitted).

               ICC Approval Immunity.   By far the major  emphasis below on
               _____________________

          the part of CP was placed on the argument that, since  the entire

          objective  of CP's  scheme was,  according to the  complaint, the

          acquisition of Guilford,  and since  such an  acquisition of  one

          railroad  by another  must be  approved by  the ICC  (now  by the

          Surface  Transportation   Board),  CP  would  fit  the  statutory

          description of "[a] rail  carrier . . . participating in  . . . a

          transaction  approved by  the  [ICC]" who  may  "own and  operate

          property . . . acquired through the transaction . . . exempt from

          the antitrust laws . . . ."  49 U.S.C.   11321(a).

               Before  the district court,  CP conceded for  the purpose of

          this argument that  it would acquire Guilford, but,  based on the

          above reasoning, contended that it would be exempt from antitrust

          liability.    On  appeal, Guilford  strenuously  argues  that any

          exemption must be restricted to  a transaction that is "necessary

          to  let  that rail  carrier .  .  . hold,  maintain,  and operate

          property  . . .  acquired through  the transaction."   Id.   CP's
                                                                 ___

          predatory  pricing, it maintains, was prior  to and separate from

          acquisition of Guilford  by CP.  There would be  no policy reason

          to  exempt such preliminary  conduct; a company  that mercilessly

          took all kinds of actions to  bring a victim to its knees  should

          not  be  granted  absolution if  its  malevolent  campaign proved

          successful.  Moreover,  antitrust exemptions  should be  narrowly

          construed. 


                                         -9-














               We are not impressed with the cases cited by CP.  Its simple

          rationale is that if acquisition of Guilford (and  the consequent

          monopoly position of CP in  the market) is approved and therefore

          immunized by the ICC, an attempt  to achieve such a legal  status

          cannot  be  unlawful.   But  although  government  approval  of a

          consolidation or merger may exempt those who took part from legal

          obstacles that would  hinder its consummation, as  in Brotherhood
                                                                ___________

          of Locomotive  Engineers v. Boston  &amp; Maine Corp., 788  F.2d 794,
          ________________________    _____________________

          800-801  (1st  Cir. 1986),  CP  has  given  us no  authority  for

          extending  immunity to remote  and egregious conduct  that brings

          about a condition of subservient vulnerability and thus  sets the

          stage  for  a  subsequent  consolidation,  merger,   or  purchase

          agreement.

               While  we  acknowledge  a  considerable  scope  of  immunity

          created by ICC approval, we are  unwilling to take a position  of

          first impression and  grant immunity as  a per  se matter to  all

          events  that precede  the ICC  action.   We find  distasteful the

          proposition that a railroad company  could indulge in any kind of

          anticompetitive  chicanery and, if  successful, be immunized, or,

          if  not successful,  defend against  an  unlawful attempt  charge

          because there  would be  no dangerous  probability of monopoly.  

          Like the district court, we shall not pass on this issue.

               Market  Power.   As  we have  observed,  the district  court
               _____________

          placed some reliance on its  estimate that CP controlled not much

          more than  ten percent  of the market.   Guilford  maintains that

          since  the complaint  alleged  that there  were  only two  market


                                         -10-














          participants, Guilford and CP, and  that CP intended to force the

          sale of Guilford's  assets to CP, and since CP  had the financial

          means  to accomplish  this, a  jury could  find that  a dangerous

          probability  of  monopolization  existed.   Pre-predation  market

          power under these circumstances, argues Guilford, is not the sole

          indicator of success.

               We are  well aware  of the impressive  case law  requiring a

          plaintiff  in an attempted  monopolization case to  demonstrate a

          substantial  pre-existing market share.  We affirmed the decision

          in Benjamin v. Aroostook Med. Ctr.,  937 F. Supp. 957, 966-67 (D.
             ________    ___________________

          Me. 1996), aff'd, 113 F.3d 1 (1st Cir. 1997),  petition for cert.
                     _____                               __________________

          filed, 66 U.S.L.W.  3308 (U.S. Aug.  11, 1997), which  recognized
          _____

          that the requirement of market  power is commonly shown by market

          share.    But most  of  the cases  cited  by CP  are pre-Spectrum
                                                                   ________

          Sports.    And  that  decision  does  not  impose  an  inflexible
          ______

          requirement  that pre-predation market share be demonstrated.  As

          the district court recognized, Spectrum Sports, after recognizing
                                         _______________

          the higher standard  of proof required against a  single firm, as

          contrasted with concerted activity, states that

               demonstrating    the    dangerous     probability    of
               monopolization in an attempt case also requires inquiry
               into the relevant product and geographic market and the
                                                               _______
               defendant's economic power in that market.
               _________________________________________

          Spectrum Sports, 506 U.S. at 459 (emphasis added). 
          _______________

               Areeda  and Hovenkamp, in  their antitrust treatise,  see P.
                                                                     ___

          Areeda &amp; H. Hovenkamp, Antitrust Law   807, p. 355 (1996), engage
                                 _____________

          in a thoughtful  discussion of the  requirement of market  share,

          tending to resist expansionary  doctrine, but acknowledging merit

                                         -11-














          in some  relaxation of  the requirement.   Their bottom  line is:

          "The all-important consideration is that the alleged conduct must

          be  reasonably  capable of  creating  a monopoly  in  the defined

          market."  Id.  They add, "As always, however, market share  is an
                    ___

          imperfect  surrogate  for market  power."   Id.    They  make the
                                                      ___

          interesting comment that the threshold power requirement might be

          lowered  if   only  injunctive  "cease-and-desist"   relief  were

          requested, rather than  triple damages and attorney's  fees.  Id.
                                                                        __

          at 357. 

               Guilford relies on  United States v. American  Airlines, 743
                                   _____________    __________________

          F.2d 1114, 1118-1119 (5th Cir. 1984), as precedent  for assessing

          the  probability of monopolization by  adding the market share of

          Guilford, the putative  victim, to that of CP.   The company also

          properly cites Areeda &amp; Hovenkamp's Antitrust Law   807h, p. 362,
                                              _____________

          as   recognizing  this   addition   as   appropriate   "in   some

          circumstances."  But it is quite clear that in American Airlines,
                                                         _________________

          the offer of  American to its fierce competitor,  Braniff, to end

          their  competition and jack  prices twenty percent  was "uniquely

          unequivocal and its potential .  . . uniquely consequential," 743

          F.2d  at  1119.   In  other  words,  the  conduct was  "the  most

          proximate to the  commission of the  completed offense that  [it]

          was capable  of committing."   Id. at 1118-1119.   In the instant
                                         __

          case, predatory  pricing would have to persist so far as to bring

          Guilford to  the point  of selling  or bankruptcy,  a sale  to CP

          would have  to take place, and approval  would have to be granted

          by the ICC before monopolization became a fact.  


                                         -12-














               We  recognize  that  aggregation  of  the  market  power  of

          predator and predatee  may in some cases be warranted,  and we do

          not insist  on proof  of  thirty or  fifty percent  or some  such

          percentage of market  share as a per se  threshold requirement in

          all attempted  monopolization cases.   But we give weight  to the

          traditional  requirement, and  require exceptional  circumstances

          before straying from it.  An all-powerful outsider with unlimited

          financing   and    a   record   of    persistent,   unambiguously

          anticompetitive conduct  that has a demonstrably  serious adverse

          effect on its competitor might well pass the test.

               As we discuss below, however, this is not such a case.

               Other   Factors    Relevant   to    Dangerous   Probability.
               ___________________________________________________________

          Notwithstanding the  lack of asserted  facts demonstrating market

          share,   Guilford  would  have  us  conclude  that  CP's  conduct

          reasonably  could  be  thought capable  of  creating  a dangerous

          probability  of monopolization in  the northern New  England rail

          transportation  market based  on the  fact that  CP admitted  the

          truth of the allegations of the complaint for purposes of summary

          judgment.    Guilford  asserts that  the  complaint  alleged that

          Canadian Pacific would acquire Guilford's rail assets and that CP

          conceded this point.

               It is  clear to us,  however, that CP's attempt  to obtain a

          stipulation that  monopolization necessarily  assumed acquisition

          by CP was in the context of  CP's contention that ICC approval of

          any  acquisition  conferred   antitrust  immunity.    Indeed,   a

          concession  for all  purposes that  acquisition  of Guilford  was


                                         -13-














          probable would  also be a concession of the basic point at issue,

          the existence of a dangerous probability of monopoly.

               No more  persuasive is  Guilford's assertion  of prejudicial

          error in  the court's refusal  to consider a proffer  of evidence

          that CP would  purchase Guilford's assets.  The  "evidence" was a

          statement by Guilford's  counsel at a motion hearing  that he had

          obtained a  document showing  CP's belief that  it would  acquire

          Guilford's assets when Guilford succumbed to bankruptcy, which it

          thought was imminent.   Not only was there  no subsequent attempt

          through affidavit or  otherwise to have the  document admitted to

          the  record, but  even  more importantly,  the  substance of  the

          representation  was only  that CP  did indeed  aspire  to acquire

          Guilford's assets and believed in its feasibility, something that

          has  not  been  in issue.    A  belief of  an  aspirant  does not

          constitute  evidence of  the probability  of  realization of  the

          aspiration.  We see  no merit in this assertion of  error, either

          procedurally or substantively.

               This brings us to  an analysis of the  conduct alleged.   To

          begin, we  must dismiss the  several allegations of  conduct that

          resulted in  no action --  the 1989 refusal  of Conrail to  grant

          trackage  rights, the 1990 rejection  by Guilford of CP's request

          for trackage rights  between Mechanicville and Fitchburg  with an

          option to purchase, and the  1990 failure of the Federal Railroad

          Administration to  follow through  on its  CP-induced threats  of

          default.




                                         -14-














               We are  left with the single instance of CP's below cost bid

          to Great  Northern and the  resulting contract in  December 1990.

          Guilford would have us attach no relevance to the solitariness of

          the  predatory  pricing  incident,  on  the  ground that  CP  has

          conceded  the alleged  existence  of  such  conduct.    But  mere

          existence  of  predatory price  cutting, and  the extent  of such

          conduct  sufficient to justify a finding of dangerous probability

          of monopolization, are two quite different issues.  

               Guilford  also contends  that CP,  which opposed  Guilford's

          "Motion to Allow  Discovery to Proceed" -- a  motion "designed to

          obtain  information  that  would  permit  the  identification  of

          particular instances where Canadian Pacific engaged in below cost

          pricing" -- should  not now be permitted to  argue for affirmance

          because of the  inadequacy of the  complaint.  But the  Motion to

          Allow tells us  only that the documents withheld by CP as "highly

          confidential"  "involve revenue and  cost data [which]  go to the

          heart  of [Guilford's]  predatory pricing  claim."   There is  no

          assertion that Guilford intended to broaden the complaint to  add

          other incidents to the bids on the Great Northern business.  

               We  are not  in a  position  to judge  whether Guilford  was

          unfairly cut off from obtaining evidence necessary to withstand a

          motion for summary judgment.  There exists a clear-cut  way for a

          litigant  in  Guilford's  position to  avoid  this  difficulty of

          exercising hindsight.   Rule 56(f) of the Federal  Rules of Civil

          Procedure specifically calls upon a litigant who feels prejudiced

          by too precipitate a demand for summary judgment to file a timely


                                         -15-














          affidavit  with  the   court  asserting  the  need   for  further

          discovery.  As  we have held, failure to resort to such first aid

          will  ordinarily bar belated aid.   See Rivera-Flores v. Bristol-
                                              ___ _____________    ________

          Myers Squibb Caribbean, 112 F.3d 9, 14 (1st Cir. 1997).  
          ______________________

               We are not  moved by Guilford's explanation that  it did not

          make a Rule 56(f) submission "because the Court had expressed its

          complete disinterest in  evidence directed to that issue."   CP's

          motion  for summary  judgment excluded  no issue;  its basis  was

          "that there exists no genuine issue of material fact warranting a

          trial."  At  the hearing on the motion, the  court indicated that

          it understood  CP to be  making an "alternative argument"  to ICC

          immunity.    A party  opposing  summary judgment  must  touch all

          bases.  Even  if the focus of  counsel and the trial  court is on

          one issue,  an appellate court  may affirm a judgment  on another

          ground, if made "manifest by the record."  Frillz, Inc. v. Lader,
                                                     ____________    _____

          104 F.3d 515, 516 (1st Cir. 1997).

               Even  less worthy  of consideration  is Guilford's  tortured

          argument  that, despite  its having  made  no move  to amend  its

          complaint, the  court should  have treated  the summary  judgment

          motion as  a  motion  to dismiss  and  sua sponte  given  it  the

          opportunity to do  so.  Although Guilford asserts  that it "could

          plead   additional  facts   that   would   cure   any   perceived

          insufficiency in the Complaint," such facts are not identified.

               All that the  complaint asserts  is the  single incident  in

          which CP, through predatory pricing, obtained a contract to carry

          4,204  carloads annually of Great Northern's 4,744 carload total.


                                         -16-














          The contract was to expire on April 30, 1993.  We do not know who

          obtained the contract to carry  the remaining 540 carloads or why

          some other carrier  managed to withstand CP's  predatory pricing.

          Although  Great  Northern's facilities  were  among  the largest,

          there were 29  other plants  in the  market, only  three of  them

          served by CP.  There is no information about the financial impact

          of  this incident  on  Guilford.   And  there  is no  information

          concerning CP's market share.

               Perhaps even more  significantly, there is no  evidence that

          CP engaged in  predatory pricing after December  1990, some three

          years and  seven months  before Guilford's  complaint was  filed.

          There  is no  information relating  to any  new request  for bids

          following expiration of the Great Northern contract  on April 30,

          1993.    We are  not  told whether  CP  sought  or retained  that

          business.  

               We  deem  highly  relevant   and  persuasive  the  following

          observations by Areeda and Hovenkamp in their treatise:

               [W]hen challenged exclusionary conduct  had ended three
               years earlier without increasing the defendant's market
               share or forcing the exit of any competitor, a court is
               likely  to see  no  dangerous  probability of  success.
               Although the conduct's potential at the time it occurs,
               rather than its actual effect, determines its legality,
               later effects  sometimes indicate  the  nature of  that
               potential. . . .

                    We   would  find   attempt  claims   presumptively
               implausible if the challenged conduct has been in place
               for at least two years and the remaining market remains
               robustly  competitive  as evidenced  by  ongoing entry,
               profitability  of   rivals,  and  stability   of  their
               aggregate market share.




                                         -17-














          Federal Antitrust  Law    807f, pp.  360-61 (citing  Ashkanazy v.
          ______________________                               _________

          Rokeach &amp; Sons, 757 F. Supp. 1527 (N.D. Ill. 1991)).
          ______________

               Although this rationale apparently was not considered by the

          district  court,  it  nevertheless  was  "made  manifest  by  the

          record,"  see  Frillz,  164  F.3d  at  516,  and  constitutes  an
                    ___  ______

          "independently sufficient  ground" for decision,  see Hidalgo  v.
                                                            ___ _______

          Overseas Condado Ins. Agencies, Inc., 120 F.3d 328, 332 (1st Cir.
          ____________________________________

          1997) (citation omitted).

               Another factor  militating against  a reasonable  finding of

          dangerous probability  of monopolization that the  district court

          relied  upon was  the  uncertainty  of  obtaining  the  necessary

          approval by the ICC.   The court concluded its reasoning  on this

          point by saying that "there is no  way to judge how the ICC would

          view  an  acquisition  of   the  Guilford  Rail  System  by   CP.

          Disapproval is just as likely as approval."  We agree.

               The relevant statute  governing ICC approval is 49  U.S.C.  

          11324(d), which requires approval of an acquisition unless "there

          is likely to be substantial lessening of competition, creation of

          a   monopoly,  or   restraint  of   trade   in  freight   surface

          transportation . . . and . . . the anticompetitive effects of the

          transaction outweigh the  public interest in  meeting significant

          transportation needs."  CP cites various instances  where the ICC

          has   disapproved  mergers   that  threatened   a  reduction   in

          competition; Guilford  cites actions where "public  interest" has

          been held to outweigh any reduction in competition.  We simply do




                                         -18-














          not know how  the ICC would view the  competing considerations on

          the record of this case.

               So viewing  the allegations  of the  complaint, we  conclude

          that Guilford has failed to put forth sufficient facts to justify

          a  finding of  a  dangerous probability  of  monopolization.   We

          therefore have no occasion  to consider the sufficiency  of facts

          alleged  to  support   the  likelihood  that  CP   would  acquire

          Guilford's assets  or CP's  arguments concerning  the absence  of

          barriers to entry into the market and elasticity of demand.

               We  add that  we  see  no reason  to  question the  district

          court's  action  in   declining  to  exercise  its   supplemental

          jurisdiction over state law claims.

               Affirmed.  Each party to bear its own costs.                
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